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                    UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MASSACHUSETTS


DAMILARE SONOIKI,

             Plaintiff,

     v.                               Civil Action No. 1:19-cv-12172

HARVARD UNIVERSITY, HARVARD           Leave to file redacted granted
UNIVERSITY BOARD OF OVERSEERS,        December 20, 2019
and THE PRESIDENT AND FELLOWS OF
HARVARD COLLEGE,

             Defendants.


    DEFENDANTS’ MEMORANDUM IN SUPPORT OF THEIR MOTION TO
                   DISMISS THE COMPLAINT
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       Pursuant to Federal Rule of Civil Procedure 12(b)(6) and Local Rule 7.1(b), Defendants

Harvard University, Harvard University Board of Overseers, and the President and Fellows of

Harvard College (together, “Harvard”) 1 submit this Memorandum in support of their Motion to

Dismiss the Complaint.

                                        INTRODUCTION

       Two days before Plaintiff Damilare Sonoiki’s 2013 Harvard College graduation

ceremony, two different women filed complaints alleging that Plaintiff engaged in non-

consensual sexual intercourse with them. One complainant alleged that Plaintiff had non-

consensual sex with her earlier that month. Another alleged that two years earlier, after having

“blacked out” at a party, she awoke to Plaintiff having sex with her. Then, several days later, a

third complainant alleged that Plaintiff engaged in non-consensual sex with her several times

while they were living as roommates.

       Harvard’s policy applicable at the time of the complaints prohibited “sexual misconduct,”

including “any act of sexual intercourse that takes place against a person’s will or that is

accompanied by physical coercion or the threat of bodily injury,” and “any unwanted touching or

fondling of a sexual nature that is accompanied by physical force or threat of bodily injury.”

Harvard’s Handbook for Students (“Handbook”) detailed the multi-step process by which

Harvard investigated and, if necessary, disciplined students who engaged in prohibited sexual

misconduct.




   1
     The Complaint incorrectly identifies the Harvard entities as “Harvard University, Harvard
University Board of Overseers, and the President and Fellows of Harvard College.” The
President and Fellows of Harvard College is the legal entity that comprises the various named
defendants and is the only proper party to this litigation. All other Harvard entities should be
dismissed from this proceeding.

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       In Plaintiff’s case, Harvard followed its extensive process consistent with the Handbook

in effect during the period at issue in the Complaint. First, the Handbook precluded Harvard

from awarding a diploma to an accused student once a complaint has been filed until the

complaint has been resolved, so while Harvard allowed Plaintiff to walk in his graduation

ceremony, it did not issue him a diploma along with his graduating class. Second, a

Subcommittee of Harvard’s Administrative Board (“Ad Board”), as well as an independent

factfinder, investigated the complaints, interviewed witnesses (including Plaintiff and the

complainants), and gathered evidence. At the conclusion of this investigation, the Subcommittee

prepared three separate disciplinary case reports—108 pages for the first complaint, 62 pages for

the second, and 72 pages for the third—determining that Plaintiff engaged in serious sexual

misconduct, and recommending (i) that Plaintiff be required to withdraw from Harvard for four

terms and (ii) that he be dismissed from Harvard (i.e., that Harvard sever its connection with him

and allow him to be readmitted only by a vote of the Faculty Council). Third, the full Ad Board

found, after considering the Subcommittee’s findings and Plaintiff’s response, that Plaintiff had

committed the sexual misconduct alleged, required him to withdraw from the College, and

recommended to the Faculty Council that he be dismissed. Fourth, Plaintiff’s appeal to the

Faculty Council was denied, and the Council concluded that Plaintiff should be dismissed from

Harvard.

       Five years later, Plaintiff filed this lawsuit, which challenges the process through which

Harvard determined that he engaged in sexual misconduct and dismissed him. The suit rests on

three basic legal theories, each of which is meritless. Plaintiff first contends that Harvard

promised Plaintiff (and other students) that it would follow the procedures contained in the

Handbook when investigating and punishing sexual misconduct, and that it broke that promise



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by failing to follow those procedures here. But as both Plaintiff’s Complaint and the documents

incorporated into that Complaint make plain, Harvard did follow its procedures, just as it

promised to do. Plaintiff next complains that these procedures themselves failed to afford him

the “basic fairness” that Massachusetts law requires, but courts have recently, repeatedly, and

unanimously held that procedures like those at issue here more than satisfy that standard.

Finally, Plaintiff argues that Harvard’s definition of “sexual misconduct” is vague and thus failed

to put him on notice of what conduct was prohibited. But there is nothing vague about Harvard’s

prohibition against “any act of sexual intercourse that takes place against a person’s will,” which

is exactly what several different investigatory and review bodies concluded that Plaintiff did.

       The motion to dismiss should be granted.

                                        BACKGROUND 2

       A.      Harvard’s Policies and Procedures

       The Handbook describes standards of behavior required of all Harvard College students

and the process for determining whether a student has violated those standards. Plaintiff was

accused of sexual misconduct that occurred in 2011, 2012, and 2013, and Harvard instituted

disciplinary proceedings against him in 2013. See Compl. ¶¶ 97-99. The 2011-2012 and 2012-

2013 Handbooks’ policies on sexual misconduct and the 2012-2013 Handbook’s disciplinary

procedures are thus of central importance here. 3




   2
     At the pleadings stage, the Complaint’s factual, non-conclusory allegations must be
accepted as true. See Saldivar v. Racine, 818 F.3d 14, 18 (1st Cir. 2016).
   3
      Because the Complaint refers repeatedly to, and attaches as exhibits, these portions of the
Handbook, they are “incorporated into the complaint by reference” and thus may be considered
at the pleadings stage. Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007).

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         The sexual misconduct policies in effect between 2011 and 2013 prohibited “sexual

misconduct,” which was defined to encompass: (i) “rape,” meaning “any act of sexual

intercourse that takes place against a person’s will or that is accompanied by physical coercion or

the threat of bodily injury”; (ii) “[i]ndecent assault and battery,” meaning “any unwanted

touching or fondling of a sexual nature that is accompanied by physical force or threat of bodily

injury”; and (iii) “other serious or persistent unwanted sexual contact or conduct, such as

harassment, threats, or intimidation.” Ex. 1 at 10-11. 4 Students who engaged in any of these

behaviors were “subject to severe penalties.” Id. at 10.

         Under the 2013 Handbook, a “disciplinary case . . . begins,” Ex. 3 at 1, when a student

files a sexual misconduct complaint against another student. Over the course of the subsequent

proceeding, the accused was entitled to numerous procedural protections designed to ensure that

he or she receives a “fair opportunity to be heard.” Ex. 4 at 1. The 2013 Handbook provides:

         •    Preliminary Notice: The accused receives notice of the allegations and is informed of
              his right to select a member of the Ad Board to serve as his Board Representative (a
              liaison with the Board) and a member of the University community to serve as his
              personal adviser (an individual who accompanies him to meetings). Ex. 3 at 2-3.

         •    Initial Review Phase: An independent factfinder and a Subcommittee of the Ad
              Board solicit written statements from the complainant and the accused student, both
              of whom are given an opportunity to review and respond to each other’s statements.
              Id. at 3-4. The factfinder and Subcommittee also interview the complainant and the
              accused student (if the accused student agrees to be interviewed), and can interview
              additional individuals identified in the initial statements at its discretion. Id. Based
              on all of the evidence gathered, the Subcommittee and factfinder determine whether
              to recommend that the Ad Board issue a charge. Id. at 4. If a charge is
              recommended, the accused student is notified and permitted to respond in writing
              before the recommendation is shared with the full Ad Board. Id. at 5.

         •    Charge Decision: The Ad Board reviews the Subcommittee and independent
              factfinder’s recommendation, the accused student’s response, and all of the evidence
              from the initial investigation. If the Ad Board determines that “the allegations, if


   4
       Numbered exhibits refer to the exhibits attached to the Complaint.

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            true, might constitute a violation of the rules” and that “further investigation is likely
            to enable it to resolve the case,” the Ad Board issues a charge. Id. The accused’s
            Board Representative notifies the accused of the Ad Board’s decision, and the
            Subcommittee and factfinder resume their investigation. Id.

       •    Disciplinary Case Report: At the conclusion of the investigation, the Subcommittee
            and the factfinder prepare a disciplinary case report, Ex. 5 at 1, which includes factual
            findings, the Subcommittee and the factfinder’s recommendation for disciplinary
            action, and copies of all statements and other evidence, Ex. 3 at 5. 5 Again, the
            accused student receives a copy of the report and is permitted to respond. Id. at 6.

       •    Ad Board Decision: The Ad Board determines, based on all the evidence gathered
            (including any responses of the accused), whether it is “sufficiently persuaded” that
            the student violated Harvard’s rules. Id. If the answer is yes, the Ad Board can take
            various actions, including requiring the student to withdraw or recommending that he
            be dismissed from the College. Id. at 7. The student is notified of the Ad Board’s
            decision and is permitted to ask the Ad Board to reconsider its decision or (in some
            cases) appeal to the Faculty Council. Ex. 6 at 1.

       •    Appeal to Faculty Council: If a student chooses to appeal, the Ad Board Chair
            responds to the appeal in writing, and the student has another opportunity to reply.
            Ex. 7 at 1. The Faculty Council then reviews all of the material gathered throughout
            the proceeding and issues a final disposition. Id.

       B.      The Complaints Against Plaintiff and the Ad Board Proceeding

       On May 28, 2013, two days before Plaintiff’s graduation ceremony, two women filed

sexual misconduct complaints against Plaintiff. Compl. ¶ 263. One alleged that earlier in May,

Plaintiff had non-consensual sexual intercourse with her while the two attended an event. See

Compl. ¶¶ 66, 83; see also Ex. C at 25



                                                  . The other alleged that two years earlier, in



   5
     Because the Complaint repeatedly references the Subcommittee and the factfinder’s
disciplinary case reports, the court “may properly consider” them on a motion to dismiss, “even
though [they are] not attached to the complaint, without converting the motion into one for
summary judgment.” Clorox Co. Puerto Rico v. Proctor & Gamble Commercial Co., 228 F.3d
24, 32 (1st Cir. 2000) (quotation omitted). These reports are attached as Exhibits A, B, and C to
the Declaration of Patrick D. McKegney.

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September 2011, she “blacked out” at a party and regained consciousness while Plaintiff was

having sexual intercourse with her. See Compl. ¶ 50; see also Ex. A at 22




                                                   . After the complaints were filed, Plaintiff

walked at Commencement, but did not receive his diploma. Compl. ¶¶ 266-67.

       On June 3, 2013, the then-Associate Dean of Harvard College met with Plaintiff to

discuss the complaints. Id. ¶ 275. The Dean informed Plaintiff that he could select a Board

Representative and a personal adviser to accompany him throughout the process. Id. ¶ 278; see

also Ex. 3 at 2-3; Ex. 4 at 1. The following day, a third woman submitted a complaint, alleging

that Plaintiff had non-consensual sexual intercourse with her on several occasions while they

were living as roommates in the summer of 2012. Compl. ¶ 88; see also Ex. B at 20

                                                                                      .

       An Ad Board Subcommittee and an independent factfinder were assigned to investigate

the complaints. See Ex. A at 4; Ex. B at 3; Ex. C at 3; see also Ex. 3 at 2; Ex. 5 at 1. They began

by soliciting statements and responses from, and then interviewing, Plaintiff and the

complainants. Compl. ¶¶ 286, 295; see also Ex. 3 at 4-5; Ex. 5 at 1. On June 25, the

Subcommittee sent letters to Plaintiff and the Ad Board, recommending that the Ad Board issue

charges against Plaintiff in each case. Compl. ¶ 303; see also Ex. 3 at 4; Ex. 5 at 1. Plaintiff

responded that day, Compl. ¶ 306; see also Ex. 3 at 4-5, and over Plaintiff’s objections, the

Board voted to issue three charges of “sexual misconduct” against Plaintiff and referred the cases

for further investigation, Compl. ¶ 307; see also Ex. 3 at 5; Ex. 5 at 1.




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       Between June 2013 and September 2013, the Subcommittee solicited additional written

statements from the complainants, Plaintiff, and several witnesses who either knew the students

involved or observed the complainants shortly before or after the incidents. Compl. ¶ 314; see

also Ex. 3 at 5; Ex. 5 at 1. Plaintiff received copies of each statement. Compl. ¶ 315; see also

Ex. 3 at 5; Ex. 4 at 1. The Subcommittee again interviewed the people from whom it had

received written statements (including Plaintiff). Compl. ¶ 323; see also Ex. 3 at 5.

       On November 13, 2013, the Subcommittee issued three reports, totaling more than 200

pages, each recommending that (i) the Ad Board require Plaintiff to withdraw from Harvard

College and (ii) the Ad Board in turn recommend to the Faculty Council that Plaintiff be

dismissed, severing his connection with the University and allowing him to be readmitted only

by a vote of the Faculty Council. Compl. ¶¶ 329, 333; see also Ex. 4 at 2. 6 Plaintiff received the

reports and responded to them in writing on November 18. Compl. ¶ 338; see also Ex. 3 at 6.

The next day, the Ad Board met to discuss the cases. Compl. ¶ 339. The Board agreed with the

Subcommittee’s recommendations, id. ¶ 351, and on November 25, 2013, notified Plaintiff of its

decision to require Plaintiff to withdraw and to recommend dismissal to the Faculty Council, id.

¶ 354; see also Ex. 3 at 7; Ex. 5 at 1.

       Six months later, in May 2014, Plaintiff appealed the Ad Board’s decision to the Faculty

Council. Compl. ¶ 357; see also Ex. 6 at 1; Ex. 7 at 1. The Ad Board Chair submitted a written

response to the appeal, and Plaintiff submitted a reply. Compl. ¶¶ 361-62; see also Ex. 7 at 1.




   6
      The Ad Board may require a student to withdraw from Harvard College for a set period of
time if it concludes that he has violated Harvard’s rules. Only the Faculty Council, however, is
empowered to dismiss or expel a student from Harvard. When a student is dismissed, he or she
may reapply for admission. When a student is expelled, all the student’s ties with the University
are severed. See Ex. 3 at 7; Ex. 4 at 2.

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On October 16, 2014, the Faculty Council denied Plaintiff’s appeal. Ex. D; Ex. E. On

December 10, 2014, the Faculty Council dismissed Plaintiff from the College. Compl. ¶ 368. 7

       C.      Plaintiff’s Lawsuit

       On October 21, 2019, almost five years after his disciplinary proceeding concluded,

Plaintiff commenced this action, asserting four claims against Harvard, all of which rely on

alleged procedural failings in his disciplinary proceeding:

   •   Breach of Contract (Count One): Plaintiff alleges that the 2012-2013 Handbook was a
       contract between him and Harvard and that Harvard breached that contract by failing to
       provide Plaintiff required procedures. Id. ¶¶ 374-412. 8 Plaintiff also asserts that because
       the sexual misconduct policy was impermissibly vague, his disciplinary proceeding is
       void. Id. ¶¶ 389-91.

   •   Breach of Basic Fairness (Count Two): Plaintiff contends that the disciplinary procedures
       he received did not provide “basic fairness” under Massachusetts law. Id. ¶¶ 413-20.

   •   Breach of the Covenant of Good Faith and Fair Dealing (Count Three): Plaintiff alleges
       that by failing to afford him the procedures specified in the Handbook, Harvard breached
       the covenant of good faith and fair dealing. Id. ¶¶ 421-26.

   •   Estoppel and Reliance (Count Four): Plaintiff alleges that even if the Handbook did not
       constitute a contract, it was nonetheless a series of promises that induced reliance. And
       again here, Plaintiff alleges that Harvard violated those promises by failing to provide the
       procedures described in the Handbook. Id. ¶¶ 427-32.

       All of Plaintiff’s claims are thus premised on three common theories. Three of Plaintiff’s

claims (Counts One, Three, and Four), rise and fall on his allegations that Harvard failed to

provide him the process he was promised under the applicable Handbook. A fourth claim (Count




   7
     Appeals are first reviewed by the Faculty Council’s Docket Committee, which can vote to
elevate the matter to the Faculty Council. Plaintiff’s appeal was denied by the Docket
Committee, which did not vote to send the matter to the Council. Ex. D (Docket Committee
decision on appeal, referenced in ¶ 371 of the Complaint); Ex. E (same). The Faculty Council
voted to dismiss Plaintiff from the College. Compl. ¶ 368.
   8
     For purposes of this motion, Defendants do not dispute that an entering student forms a
contractual relationship with his university and that the Handbook is part of that contract.

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Two) rests on allegations that the procedures outlined in the Handbook were inadequate as a

matter of law because they failed to provide him “basic fairness” under Massachusetts law.

Finally, Plaintiff alleges in Count One that the Handbook was too vague to put him on notice of

the conduct that would constitute a violation of Harvard’s policy. These legal theories fail

because, as described in detail below, (i) Harvard’s process was fully consistent with (and,

indeed, dictated by) the Handbook, (ii) those procedures were more than adequate to satisfy the

“basic fairness” requirement as construed by numerous courts and most recently by the First

Circuit, and (iii) the “sexual misconduct” standards applicable to Plaintiff’s conduct are not

vague. Plaintiff’s Complaint must be dismissed with prejudice.

                                            ARGUMENT

        On a motion to dismiss under Rule 12(b)(6), the court must determine whether the

pleading contains “sufficient factual matter, accepted as true, to state a claim to relief that is

plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quotation omitted). This

inquiry involves a “two-step analysis.” Saldivar, 818 F.3d at 18 (quotation omitted). “At the

first step, [the Court] distinguish[es] the complaint’s factual allegations (which must be accepted

as true) from its conclusory legal allegations (which need not be credited).” Id. (quotation

omitted). “At step two, [the Court] must determine whether the factual allegations are sufficient

to support the reasonable inference that the defendant is liable.” Id. (quotation omitted).

I.      PLAINTIFF RECEIVED THE PROCEDURES TO WHICH HE WAS ENTITLED
        UNDER THE HANDBOOK.

        Counts One, Three, and Four all rest on the contract-related theory that Harvard promised

Plaintiff that it would comply with certain procedures but then failed to do so. See supra at 8-9.

This theory is based on a laundry list of alleged defects in the procedures that Harvard used in his




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disciplinary proceeding. Plaintiff, however, received the procedures the Handbook promised,

which precludes his contract-related theory.

       When a student alleges that a university violated the terms of its student handbook, the

meaning of the handbook is a question of law for the court, and is judged by “the standard of

reasonable expectation,” i.e., the “meaning [the university] should reasonably expect the

[student] to give” the handbook. Doe v. W. New England Univ., 228 F. Supp. 3d 154, 170 (D.

Mass. 2017) (quotations omitted). As explained in detail below, Plaintiff here received the

procedures that a reasonable student who read the 2012-2013 Handbook would have expected.

Indeed, in most cases, the procedures to which Plaintiff objects were provided for in the

Handbook. And to the extent Plaintiff’s argument is really that he was entitled to procedures

other than those spelled out in the applicable Handbook, such allegations cannot sustain a theory

of liability based on the procedures Harvard promised to provide. Plaintiff’s contract-related

theories (Counts One, Three, and Four) should be dismissed.

       A.      Plaintiff’s Contention that Harvard Lacked “Jurisdiction” to Discipline Him
               After His Expected Graduation Date is Contrary to the Handbook.

       Plaintiff’s principal contract-related argument is that the Ad Board lacked “jurisdiction”

to withhold his degree and dismiss him because it did not formally charge him before he

participated in Commencement; he contends that Harvard’s procedures deprived the Ad Board of

the power to withhold a degree or otherwise discipline him once his graduation day passed.

Compl. ¶¶ 382-87. But the Handbook states that “[a] student cannot receive a degree before a

pending disciplinary case is resolved.” Ex. 3 at 7 (emphasis added). And a “disciplinary case

. . . begins with an allegation of student misconduct in the form of a complaint or report,” id. at

1, so Plaintiff’s “disciplinary case” began two days before the Commencement ceremony, when

the first two women filed complaints against him. Thus, once the complaints against Plaintiff


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were filed, the Handbook precluded Harvard from awarding Plaintiff a degree until the

disciplinary case initiated by those complaints was resolved.

       Plaintiff points to a different sentence in the Handbook providing that a “degree will not

be granted to a student who is not in good standing or against whom a disciplinary charge is

pending.” Ex. 2 at 5. He argues that because no “disciplinary charge” was yet pending against

him—a “disciplinary charge” does not issue until the Subcommittee and the factfinder have

investigated the complaint(s) and issued recommendations to the Ad Board, Ex. at 3 at 4-5; see

supra at 4-5—Harvard was required to give him a degree. Plaintiff misconstrues the Handbook.

It is true that a “degree will not be granted to a student . . . against whom a disciplinary charge is

pending.” Ex. 2 at 5 (emphasis added). But that does not mean that a degree must be granted to

every student who does not yet have a disciplinary charge pending by the time of

Commencement. Certainly, it does not require Harvard to give a degree to students with pending

but as-yet uninvestigated complaints of sexual assault—again, the Handbook prohibits Harvard

from granting a degree after a complaint has been filed, until the complaint is resolved.

Plaintiff’s position, moreover, is not only contrary to the Handbook but illogical. On his view,

Harvard would be required to grant a degree to a student who is accused of committing a serious

policy or even criminal offense so long as evidence of the offense arose too close to graduation

to allow the Ad Board time to conduct a preliminary investigation to determine whether to issue

a formal charge. That is as wrong as it sounds.

       B.      Plaintiff’s Allegations of Procedural Deficiencies Are Foreclosed by the
               Handbook.

       Plaintiff also contends more broadly that Harvard denied him various procedures—for

example, criminal-trial-like rights such as the right to cross-examine witnesses and the right to an

attorney. But Massachusetts law does not require private universities to provide procedures that


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would be required in a trial setting, see infra Part II, and there are good reasons for universities

not to adopt such trial-like procedures. Massachusetts has recognized universities’ need for

“flexibility to adopt diverse approaches to student discipline matters that do not meet federal due

process requirements.” Doe v. Trs. of Bos. Coll., 942 F.3d 527, 535 (1st Cir. 2019). As a

consortium of private universities explained to the First Circuit in the recent Boston College

case, the reason for that rule is to allow each institution “to adopt student disciplinary processes

that best reflect its particular mission, learning community expectations and pedagogical

objectives,” so long as “the college or university implements those processes with the fairness

required by common law when interpreting the contractual promises between schools and

students.” Am. Br. of Private Universities at 3, Trs. of Bos. Coll, 942 F.3d 521 (No. 19-1871).

       Thus, while Harvard’s Handbook promises students robust procedures that balance the

rights of complainant and accused, see infra Part II, it does not provide the sorts of trial-like

procedures Plaintiff seeks. And that precludes Plaintiff’s contract-related claims: Harvard

simply “d[id] not provide for the right[s] . . . that Plaintiff alleges that he was denied.” Doe v.

Vanderbilt Univ., 2019 WL 4748310, at *14 (M.D. Tenn. Sept. 30, 2019); see Doe v. Trs. of Bos.

Coll., 892 F.3d 67, 81 (1st Cir. 2018) (college “could not have breached its contract” where its

procedures did not establish the requirement the student alleged was violated).

       For example, the Handbook expressly contradicts many of the purported procedural

deficiencies Plaintiff cites in the Complaint:

   •   Plaintiff alleges that Harvard denied him an opportunity to cross-examine the witnesses
       against him. Compl. ¶¶ 400, 402(i), (vi). But while Harvard grants accused students
       numerous opportunities to present their side of the case and answer the allegations
       against them, Harvard has chosen not to afford accused students the kind of cross-
       examination right that accompanies a criminal trial. Ex. 3 at 4.

   •   Plaintiff alleges that Harvard prevented him from selecting an attorney as his personal
       adviser, Compl. ¶ 402(v), barred him from Ad Board meetings, id. ¶ 402(i), (ii), and


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       denied him an advocate to represent him before the Ad Board, id. ¶ 402(i), (iii). But
       again, while accused students have numerous opportunities to tell their side of the story
       and respond to allegations—and are expressly encouraged in the Handbook to seek legal
       counsel outside the Ad Board meetings—they are not allowed to have attorneys
       participate in the disciplinary proceeding itself by serving as personal advisers (as would
       be required in a criminal trial). Ex. 3 at 2-3, Ex. 4 at 1-2. 9 The Handbook also informs
       students that while students themselves may not attend Ad Board meetings, the Board
       Representative “will be present when the Board hears the case,” Ex. 3 at 6, and that
       Board Representative will “make certain that [the student’s] perspective is clearly
       presented,” although she “will not advocate for [the student],” id. at 3.

   •   Plaintiff alleges that Harvard subjected him to an improper standard of proof in the Ad
       Board proceeding, Compl. ¶ 393, but the Handbook directs the Ad Board to apply a
       “sufficiently persuaded” standard when deciding whether to discipline students, see Ex. 4
       at 2—exactly the standard the Board applied, see Compl. ¶ 352. Plaintiff does not
       explain why that standard—which is not materially different than the “preponderance of
       the evidence” standard applicable in civil litigation—is unfair in any respect.

   •   Plaintiff alleges that Harvard improperly permitted the Ad Board Chair to file a response
       to his appeal, Compl. ¶ 404, but there is no reason why the Faculty Council should not
       have the benefit of the Ad Board’s answers to the accused’s contentions, which is why
       the Handbook provides that the Chair of the Ad Board is entitled to “respond[] to the
       Student’s statement [of appeal] in writing” and submit that response to the Faculty
       Council, Ex. 7 at 1.

       The Handbook also implicitly refutes numerous other of Plaintiff’s alleged procedural

deficiencies; no reasonable student could read the Handbook and conclude that he or she is

entitled to the procedures on which Plaintiff insists.




   9
      To the extent Plaintiff asserts that Harvard violated the Violence Against Women Act
Amendments to the Clery Act by failing to afford him “the same opportunity as the
Complainant” to submit statements written by attorneys, Compl. ¶¶ 171-73, that claim also fails.
First, the Amendments require schools to grant the accused student the same opportunity “to
have others present during an institutional disciplinary proceeding”; they say nothing about
written statements. 20 U.S.C. § 1092(f)(8)(B)(iv)(II). And even if Harvard had violated that
statute, “such a finding would have no bearing on [Plaintiff’s] pending contractual and quasi-
contractual claims,” Doe v. Univ. of S., 687 F. Supp. 2d 744, 757-58 (E.D. Tenn. 2009), because
that statute “expressly states that it does not create a private cause of action against any college,
university, or employee,” Emery v. Talladega Coll., 688 F. App’x 727, 729-30 (11th Cir. 2017);
see 20 U.S.C. § 1092(f)(14)(A)(i).



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        For instance, Plaintiff contends that Harvard improperly adjudicated complaints that were

filed long after the alleged misconduct occurred, Compl. ¶¶ 407-09, and took more than 18

months to complete the disciplinary proceeding, id. ¶ 410. But while the Handbook specifies

that “[c]omplaints must ordinarily be brought to the College in a timely manner,” Ex. 2 at 4, and

that “ordinarily” disciplinary proceedings will be completed within three to six weeks, Ex. 3 at 1,

no reasonable student could conclude that complaints filed outside some unspecified period of

time—presumably less than two years—are not “timely” and thus will not be adjudicated. Nor is

there any good reason to place such a tight time bar—shorter than most civil statutes of

limitations—on sexual assault complaints. 10 Nor is there anything in the Handbook requiring

disciplinary proceedings to be completed in six weeks. To the contrary, the use of the word

“ordinarily” puts reasonable readers on notice that, in some cases, proceedings may take more

than six weeks. In fact, the Handbook flags one such case—when, as here, the proceedings

begin toward the end of the school year, there will be some delay because “[t]he Board does not

meet during Summer months.” Ex. 2 at 4.

        Plaintiff also alleges that Harvard promised to guarantee him a confidential relationship

with his Board Representative. Compl. ¶ 402. But when the Handbook intends to make a

particular relationship confidential, it expressly says so. No reasonable reader could conclude

that a relationship that the Handbook does not designate as confidential—such as an accused’s

relationship with his Board Representative—must nevertheless be treated as such. Compare,

e.g., Ex. 3 at 1 (all proceedings of the Board “are confidential”), and Ex 4. at 2 (material relating




   10
      Moreover, Plaintiff’s allegation of complaints filed long after the alleged conduct occurs is
factually incorrect as to at least one of them, which was filed 20 days after the misconduct at
issue. See Compl. ¶ 83.

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to a case “must remain confidential”), with Ex. 3 at 3 (failing to describe student’s relationship

with his Board Representative as confidential).

       Plaintiff next complains that the Subcommittee made credibility determinations in the

disciplinary case report, Compl. ¶¶ 396-400, and that the Ad Board and Faculty Council failed to

engage in independent fact finding during the proceedings before those bodies, id. ¶ 402(xi). But

the Handbook provides that the Subcommittee will make credibility determinations and that the

Ad Board and Faculty Council will not engage in any independent fact finding. The student

information form explains that the Subcommittee members initially interview the accused

student and the complainant, Ex. 3 at 4, and then, if a charge issues, “conduct additional

interviews with [the accused student], the complainant, and possibly other relevant parties,” id. at

5. Because the Handbook designates the Subcommittee as the primary observer of the relevant

witnesses during the interview process, no reasonable reader of these provisions could

understand the Handbook to preclude the Subcommittee from making credibility determinations.

Moreover, consistent with the Subcommittee’s role as primary factfinder, the Handbook

describes the Ad Board and Faculty Council as reviewing the evidence and reports gathered by

the Subcommittee, further confirming that those bodies will not conduct independent fact

finding. See id. at 5-7. And this division of labor is a sensible choice for a university to make.

Just as a trial court that is present for witness testimony is entrusted with making credibility

determinations, a university can reasonably determine that the investigator who interviews the

witnesses is best able to assess their credibility. And it is likewise reasonable to limit the

functions of later bodies reviewing the record created by investigators to those of review and

final determination of whether policy has been violated, not credibility findings.




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       Plaintiff also alleges that he should have been permitted to appeal the decision of the

Faculty Council to dismiss him, Compl. ¶ 406, but the Handbook’s appeal procedures form

describes the full appeal process and does not provide students with an opportunity to appeal

final outcomes reached by the Faculty Council. See Ex. 6 at 1; Ex. 7 at 1. No reasonable student

could conclude that such a right existed.

       Finally, several of the procedures Plaintiff says Harvard should have employed have no

direct analogue in the Handbook, and Plaintiff cannot identify any Handbook provision that

would lead a reasonable reader to think that he was entitled to these procedures.

       For example, Plaintiff faults the Ad Board for failing to identify in its communications to

him the precise category of sexual misconduct that was the basis for his discipline, i.e., rape,

indecent assault and battery, or miscellaneous. Compl. ¶ 389. But Plaintiff does not (and

cannot) point to any provision of the Handbook that would require the Ad Board to categorize a

student’s conduct in this manner. Rather, the Handbook only requires the Ad Board to inform

the student about the allegations and evidence against him, and to notify the student when it

issues a charge and reaches a final disposition in the case. See Ex. 3 at 2, 5, 7. And, as Plaintiff

himself concedes, Plaintiff was repeatedly informed not only that he was accused of “sexual

misconduct,” but of the detailed allegations and evidence against him, just as the Handbook

requires. See Compl. ¶¶ 275, 303, 307, 329, 353, 368. Indeed, Plaintiff was presented with the

Subcommittee and the fact finder’s charge recommendations and the disciplinary case reports

themselves, which included detailed factual findings concerning the allegations against him.

There is no plausible argument that he was not aware of the nature of the claims against him.

       Plaintiff also contends that Harvard improperly investigated and adjudicated all three of

his complaints simultaneously. Compl. ¶ 402(ix). But Plaintiff’s premise is wrong—the three



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complaints were investigated and adjudicated separately, which is why the Subcommittee

generated three separate reports. See supra at 7. In any event, Plaintiff cites no Handbook

provision that would lead a reasonable student to believe that complaints against the same

student—filed close in time to each other—must be investigated and adjudicated separately.

           Plaintiff’s contract-related theories (Counts One, Three, and Four) thus fail. Such claims

can only be based on a violation of rights that Harvard promised Plaintiff, and here Plaintiff

received all the procedures he was promised. The contract-related claims should be dismissed. 11

II.        HARVARD’S PROCEDURES PROVIDED PLAINTIFF WITH “BASIC
           FAIRNESS” UNDER MASSACHUSETTS LAW.

           In addition to the Complaint’s allegations that Harvard failed to provide Plaintiff the

procedures it promised in its Handbook, the Complaint also alleges in Count Two that the

procedures themselves were inadequate because they did not provide him the “basic fairness”

that Massachusetts law requires. See supra at 8-9. That contention fails as a matter of law.

           Massachusetts courts review student disciplinary proceedings to ensure they are

“conducted with basic fairness.” Schaer v. Brandeis Univ., 735 N.E.2d 373, 380 (Mass. 2000)

(quoting Cloud v. Trs. of Bos. Univ., 720 F.2d 721, 725 (1st Cir. 1983)). “Basic fairness” in

Massachusetts serves to ensure that accused students are not treated arbitrarily or capriciously,



      11
       Plaintiff also mentions in passing three other alleged procedural failings: (i) the Associate
Dean’s purported failure to inform him that he could have a Board Representative present at his
initial meeting, Compl. ¶ 277; (ii) the Associate Dean’s failure to have an initial meeting with
Plaintiff about the third complaint, id. ¶ 282; and (iii) Harvard’s alleged pressuring of students to
file complaints, id. ¶¶ 75, 79, 263, 281. Plaintiff, however, does not raise these allegations again
when discussing his four claims. See id. ¶¶ 374-432. Even if Plaintiff did intend to press claims
based on these allegations, he cannot because they are time-barred. In Massachusetts, the statute
of limitations for claims sounding in contract is six years, see Mass. Gen. Laws Ann. ch. 260,
§ 2, and the cause of action accrues at the time of the breach, Melrose Hous. Auth. v. New
Hampshire Ins. Co., 402 Mass. 27, 32 (1988). Plaintiff filed his complaint in October 2019, so
these three alleged procedural failings—each of which occurred in June 2013—are time-barred.

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Coveney v. Pres. & Trs. of Coll. of Holy Cross, 445 N.E.2d 136, 139 (Mass. 1983), and that they

have notice of the allegations against them and an opportunity to be heard, see Driscoll v. Bd. of

Trs. of Milton Acad., 873 N.E.2d 1177, 1187 (Mass. App. Ct. 2007) (explaining that student was

ensured basic fairness where he and his parents were “informed of the proceedings” and “given

an opportunity to explain his behavior”). As the Massachusetts Supreme Judicial Court has

explained, however, guaranteeing a student “basic fairness” as part of a school disciplinary

process does not require private universities to “adhere to the standards of due process

guaranteed to criminal defendants,” Schaer, 735 N.E.2d at 381, nor does it require them to adopt

specific disciplinary procedures, see id.; see also supra at 11-12.

       Here, the Complaint itself shows that Plaintiff was afforded far more procedural

protection than basic fairness requires. Plaintiff was notified of the allegations against him

within days after the complaints were filed. Compl. ¶¶ 80, 275. Shortly thereafter, he received

copies of the complainants’ initial statements, which detailed the precise charges against him and

the factual allegations underlying those charges. Id. ¶¶ 275, 286, 295, 315. This case thus stands

in sharp contrast to those in which courts have found that a student did not receive notice

sufficient to satisfy basic fairness requirements. See Doe v. Brandeis Univ., 177 F. Supp. 3d 561,

604 (D. Mass. 2016) (student did not receive adequate notice where the school “refus[ed] to

provide [the student] with the specific factual conduct alleged to have given rise to the charge”).

       Plaintiff also received numerous opportunities to tell his side of the story and respond to

the evidence against him: he was able to prepare written responses to the evidence, see Compl.

¶¶ 286, 306, 314, 338; Ex. 3 at 3–4; Ex. 4 at 1, and he was interviewed several times and asked

to provide lists of evidence and proposed witnesses, see Compl. ¶¶ 297-300, 315, 323. Plaintiff

asserts that he was entitled to an in-person hearing with an advocate and an opportunity to cross-



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examine the witnesses against him, Compl. ¶ 402, but that assertion is contrary to Massachusetts

law. The Supreme Judicial Court has made clear that students at private universities “ha[ve] no

constitutional right to a hearing,” Coveney, 445 N.E.2d at 140, and has expressly upheld

disciplinary procedures where the student was not even “asked to give a statement, to offer

evidence, or to provide witnesses,” let alone afforded an opportunity to advocate at an in-person

hearing, Schaer, 735 N.E.2d at 378, 380. And the First Circuit has recently recognized that

“basic fairness” in Massachusetts does not require “any opportunity for the accused student to

pose questions to be addressed to the accuser.” Trs. of Bos. Coll., 942 F.3d at 534.

       Nor does the Complaint plausibly allege that Plaintiff was treated arbitrarily. Plaintiff

offers only a conclusory allegation (without factual basis) that the Subcommittee, Ad Board, and

Faculty Council did not include black members and that he was treated unfairly as a result.

Compl. ¶ 402(vii). But the First Circuit has made clear that a presumption of impartiality favors

school administrators, so allegations of prejudice and bias must be accompanied by more than

“mere speculation and tenuous inferences.” Gorman v. Univ. of R.I., 837 F.2d 7, 15 (1st Cir.

1988) (quotation omitted). Plaintiff cannot overcome that presumption even if his conclusory

assertion that these administrative bodies had no black members were correct.

       In short, Harvard provided Plaintiff with fair procedures well in excess of the minimum

requirements of Massachusetts law. Plaintiff’s contention that the procedures he was afforded

violate Massachusetts law is meritless.

III.   HARVARD’S SEXUAL MISCONDUCT POLICY IS NOT VOID FOR
       VAGUENESS.

       Finally, Plaintiff asserts that the proceedings against him were invalid because the sexual

misconduct policies under which he was charged did not define all relevant terms and were

therefore “void for vagueness.” Compl. ¶ 391. As an initial matter, the “void for vagueness”


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doctrine, which is rooted in constitutional due process rights, see URI Student Senate v. Town of

Narragansett, 631 F.3d 1, 13 (1st Cir. 2011), does not apply to disciplinary proceedings of a

private university, see Schaer, 735 N.E.2d at 381 (private universities need not “adhere to the

standards of due process guaranteed to criminal defendants”). Instead, the relevant question here

is whether “under an objective standard, the University reasonably could expect a student in

Plaintiff’s position to understand that the [Handbook] prohibited the conduct in which he

engaged.” W. New England Univ., 228 F. Supp. 3d at 173.

       The answer to that question is, obviously, yes. The Handbook makes clear that Harvard

does not tolerate “sexual misconduct,” which it defines to include “intercourse that takes place

against a person’s will or that is accompanied by physical coercion” and “intercourse with a

person who is incapable of expressing unwillingness.” Ex. 1 at 10-11. No reasonable student

could fail to understand that this prohibition includes the conduct for which Plaintiff was

disciplined: having sexual intercourse with a complainant while she

                                                                                    Ex. B at 17;

having sexual intercourse with another complainant while she



                      Ex. A at 21; and using

                                                           Ex. C at 19. Plaintiff’s suggestion that

there is some confusion about whether such conduct counts as “sexual misconduct” is frivolous

and should be rejected out of hand.

                                         CONCLUSION

       For the foregoing reasons, the Complaint should be dismissed with prejudice.




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Dated: December 20, 2019           Respectfully submitted,




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                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)

and paper copies will be sent to those indicated as non-registered participants on December 20,

2019.

                                                   /s/ Anton Metlitsky
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